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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                         ELKINS

  U.S. EQUAL EMPLOYMENT                              )
  OPPORTUNITY COMMISSION,                            )
                                                     )
         Plaintiff,                                  )
                                                     )       Case No. 2:17-cv-00073
  v.                                                 )
                                                     )       Hon. Thomas S. Kleeh
  BIG LOTS STORES, INC.                              )
                                                     )
         Defendant.                                  )
                                                     )

                                    ORDER OF DISMISSAL

         In accordance with Paragraph 14 of the Consent Decree approved and entered by the Court

  in the above-styled and numbered action, it is ORDERED that the above-styled and numbered

  action be, and it is hereby, DISMISSED.

         It is further ORDERED that the Court shall retain jurisdiction to enforce the terms of the

  Consent Decree.

         Signed and entered this 26th day of November, 2019.



                                                 HONORABLE THOMAS S. KLEEH
                                                    United States District Judge
